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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


       COMMSCOPE, INC., et al.,                         Civil Action No.
                    Plaintiff,                          19-15962 (JXN) (LDW)
       v.

       ROSENBERGER TECHNOLOGY                           ORDER GRANTING MOTION TO
       KUNSHAN CO. LTD., et al.,                        SEAL

                    Defendants.


            THIS MATTER having come before the Court by way of the joint motion of

     Plaintiffs CommScope, Inc., CommScope Inc. of North Carolina, and CommScope

     Technologies, LLC and Defendants Rosenberger Technology (Kunshan) Co. Ltd.,

     Rosenberger Asia Pacific Electronic Co., Ltd., and Rosenberger Technology LLC,

     (CommScope together with Rosenberger, the “Movants”), to seal portions of the parties’

     Joint Discovery Dispute Letter (ECF No. 533) and Exhibits thereto (ECF Nos. 533-1–533-

     3); and there being no opposition to the instant motion; and the Court having considered the

     Declarations of Farid Firouzbakht (ECF No. 539-1) and Nicholas J. Pellegrino (ECF No.

     539-1) in support of the motion, and the factors contained in Local Civil Rule 5.3(c)(3), the

     Court makes the following Findings of Fact and Conclusions of Law:

     1. The Movants seek to seal portions of the parties’ Joint Submission Regarding

        Defendants’ Discovery Issue 1 and attached exhibits (ECF No. 533), as identified in the

        Consolidated Index In Support of the Joint Motion to Seal. (ECF No. 539-3).

     2. This case involves claims of, among other things, trade secret misappropriation under the

        Defend Trade Secrets Act, 18 U.S.C. §§ 1836 et seq. and New Jersey Trade Secrets Act,

        N.J.S.A. §§ 56:15-1 et seq.       Material sought to be sealed includes confidential,
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        proprietary, and non-public information regarding the Movants’ base station antenna

        design and developmental processes and confidential discovery materials marked

        Attorneys’ Eyes Only under the Discovery Confidentiality Order entered in this action

        on September 24, 2019 (ECF No. 22).

     3. Specifically, included in the parties’ joint discovery submission is an excerpt of

        CommScope’s 12th Amended Responses to Defendants’ 4th Set of Interrogatories,

        which contains confidential and non-public information relating to Rosenberger’s

        business operations and which has been previously sealed by this Court. (ECF No. 539-

        1 ¶¶ 5-7; ECF No. 502). Movants assert that the attached exhibits are “sensitive materials

        that contain confidential information pertaining to Rosenberger’s business operations,

        including confidential and commercially sensitive information about Rosenberger’s

        strategic business decisions and base station antenna design and development processes,

        and confidential and sensitive information about Rosenberger’s employees.” (Id. ¶ 8).

     4. Local Civil Rule 5.3(c)(3) requires a party seeking to seal materials filed with the Court

        to file a motion that describes “(a) the nature of the materials or proceedings at issue, (b)

        the legitimate private or public interests which warrant the relief sought, (c) the clearly

        defined and serious injury that would result if the relief sought is not granted, and (d)

        why a less restrictive alternative to the relief sought is not available.”

     5. The Movants have a legitimate interest in maintaining the confidentiality of non-public

        discovery materials and competitive business information, and would suffer a clearly

        defined injury if the information is disclosed, including the potential loss of competitive

        standing. See United Therapeutics Corp. v. Actavis Labs. FL, Inc., Civ. A. No. 16-1816,

        2017 WL 2172438, at *2 (D.N.J. May 17, 2017); Curlin Med. Inc. v. ACTA Med., LLC,
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        Civ. A. No. 16-2464, 2017 WL 2729268, at *3 (D.N.J. Jan. 5, 2017) (granting the parties’

        motion to seal where “the confidential materials contain valuable, proprietary, and highly

        sensitive business information relating to the parties' respective businesses, including but

        not limited to financial information, business strategies, research and development,

        business relationships, customer information, and pricing information”); Federal Rule of

        Civil Procedure 26(c)(1)(G) (allowing the court to protect materials containing “trade

        secret[s] or other confidential research, development, or commercial information” upon

        motion by a party, to prevent harm to a litigant's competitive standing in the marketplace).

     6. No less restrictive alternative is available, as the parties have sought sealing of only the

        portions of the materials that contain confidential information.

     7. The Movants have submitted with the instant motion proposed redacted versions of ECF

        Nos. 533 and 533-1. As to Exhibits B and C to the Joint Discovery Dispute Letter (ECF

        Nos. 533-2 and 533-3), Movants submit, and the Court agrees, that the “confidential

        information in [these] document[s] is sufficiently pervasive so as to render redaction

        unreasonable and unduly burdensome.” (ECF No. 539-3 at 5-6).

     8. Rosenberger and CommScope have satisfied the requirements for sealing under Local

        Civil Rule 5.3(c).

            WHEREAS the Court having found that there are legitimate interests warranting the

     relief sought and no legitimate public interest in disclosure, and for good cause shown;

            IT IS on this day, July 11, 2023,

            ORDERED that the motion to seal (ECF No. 539) is GRANTED and the material

     identified in the consolidated index (ECF No. 539-3) is hereby ordered SEALED; it is further
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            ORDERED that Movants shall file the proposed redacted versions of ECF Nos. 533

     and 533-1 on the public docket. The Clerk of Court is directed to maintain under seal ECF

     Nos. 533, 533-1, 533-2, and 533-3; and it is further

            ORDERED that the Clerk of the Court is directed to terminate the motion to seal at

     ECF No. 539.

                                                    s/ Leda Dunn Wettre
                                                   Hon. Leda Dunn Wettre
                                                   United States Magistrate Judge
